      Case 1-16-40809-ess           Doc 41     Filed 02/14/20       Entered 02/14/20 13:24:24




                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF NEW YORK


 In re:
                                                   Case No. 16-40809 (ESS)
 TASHANNA GOLDEN
                                                   Chapter 7
           Debtor



              DEBTOR’S NOTICE OF MOTION TO REOPEN CHAPTER 7 CASE

          PLEASE TAKE NOTICE that upon the annexed affirmation, Tashanna Golden (“Debtor”

or “Golden”) by and through the undersigned counsel, will move this Court on March 24, 2020 at

2:30 p.m. or as soon thereafter as counsel may be heard, at the United States Bankruptcy Court for

the Eastern District of New York, 271-C Cadman Plaza East, Brooklyn, New York 11201,

Courtroom 3585, before the Honorable Elizabeth S. Stong, for an Order:

   a) Reopening the Debtor’s Chapter 7 case pursuant to 11 U.S.C. § 350(b) of the Bankruptcy

          Code and Rules 5010 and 4007 of the Federal Rules of Bankruptcy Procedure, for the

          purpose of seeking:

             i.   Declaratory relief that Golden’s private student loans issued by Discover Bank (the

                  “Debts”) were discharged by operation of law on August 3, 2016 because they are

                  not educational debts excepted from discharge by Section 523(a)(8);

           ii.    And award of actual damages and sanctions for violations of the discharge

                  injunction;

           iii.   An award of a reasonable attorneys’ fees;

           iv.    Restitution of all funds paid on said Debts since August 3, 2006; and

            v.    Other just relief that this Court deems proper.
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Dated: February 14, 2020

                                     Respectfully submitted,

                                     BOIES SCHILLER FLEXNER LLP

                                     /s/ George F. Carpinello
                                     George F. Carpinello
                                     Adam R. Shaw
                                     30 South Pearl St., 11th Floor
                                     Albany, NY 12207
                                     (518) 434-0600
                                     gcarpinello@bsfllp.com
                                     ashaw@bsfllp.com

                                     SMITH LAW GROUP
                                     Austin C. Smith
                                     3 Mitchell Place
                                     New York, NY 10017
                                     (917) 992-2121
                                     austin@acsmithlawgroup.com

                                     JONES SWANSON HUDDELL & GARRISON
                                     LLC
                                     Lynn Swanson
                                     Peter Freiberg
                                     Kathryn J. Johnson
                                     601 Poydras Street
                                     New Orleans, Louisiana 70130
                                     (504) 523-2500
                                     lswanson@jonesswanson.com
                                     pfreiberg@jonesswanson.com
                                     kjohnson@fishmanhaygood.com


                                     LAW OFFICES OF JOSHUA B. KONS, LLC
                                     Joshua B. Kons
                                     50 Albany Turnpike, Suite 4024
                                     Canton, Connecticut 06019
                                     (860) 920-5181
                                     joshuakons@konslaw.com


                                     Attorneys for Plaintiff and Class




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